Case 19-50897-KG Doc3 Filed 11/26/19 Page 1of1

United States Bankruptcy Court
District of Delaware

 

 

 

In re: Forever 21, Inc. and its affiliated debtors. )
Debtor )
) Case No.: _19-12122 (KG)
Altied Development of Alabama, LLC ,)
Plaintiff } Chapter: 11
Vv. )
Forever 21, Inc. and its affiliated debtors, and )
Jatin Malhotra. a) Adv. Proc. No.: _19-50897 (KG)
Defendant

SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

' Address of Clerk:

824 Market Street, 3" Floor

| Wilmington, DE 19801 |

 

At the same time, you must also serve a copy of the motion or answer upon the plaintiffs attorney.

Name and Address of Plaintiff's Attorne Ann M. Kashishian (DE Bar No. 5622)

| Name and Address of Plaintiff's Attorney ASHISHIAN LAW LLC |
501 Silverside Road

Wilmington, DE 19809

T. (484) 302-8417 / F. (484) 930-0091

| E. amk@kashishianlaw.com

‘Lf you make a motion, your-time to-answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

_ Address: ~The Honorable Kevin Gross RoonyFloor: 6th floor

| United Sates Bankruptcy Court

| Wilmington, DE 19801 Tan 3. 2020 |
T. (02) 252-2913 anuary 3, 202

11:00 am. (ESTY

 

 
 
  

iITRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
. AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

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United States Bankruptey
‘Court for the District
ofDelaware ‘sf Una ‘Q’ Boyle

Clerk of the Bankruptcy Court
Date: November 26, 2019
